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                     Case 21-11466-elf                   Doc 11        Filed 05/26/21 Entered 05/26/21 16:20:49                                         Desc Main
                                                                       Document      Page 1 of 1

  Fill in this information to identify the case:
  Debtor name 1121 Pier Village LLC
  United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                      Check if this is an
                                                 PENNSYLVANIA
  Case number (if known):         21-11466-elf                                                                                                         amended filing




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
 Are Not Insiders                                                                           12/15

 A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
 debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
 include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
 among the holders of the 20 largest unsecured claims.

  Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
  complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                   professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                   and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                   contracts)                                                 partially secured          of collateral or setoff
  Abitare Design                                                                                                                                                         $212,564.59
  Studio, LLC
  39 N. 3rd Street
  Philadelphia, PA
  19106
  Cider Mill Services                                                                                                                                                      $35,000.00
  Inc.
  998 Shavertown
  Road
  Garnet Valley, PA
  19060
  Klehr Harrison                                                                                                                                                           $17,948.05
  1835 Market Street
  Philadelphia, PA
  19103
  NV5, Inc.                                                                                                                                                                  $4,269.30
  PO Box 74008680
  Chicago, IL 60674
  Urban Enineers, Inc.                                                                                                                                                   $501,100.88
  530 Walnut Street
  Philadelphia, PA
  19106




 Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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